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DECLARATION OF M. DUNCAN GRANT
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CONNECTICUT BANK OF )
COMMERCE, )
Plaintiff,
Vv. Civil Action No. 05-762 SLR
THE REPUBLIC OF CONGO,
Defendant;
CMS NOMECO CONGO INC.,
Garnishee.

DECLARATION OF M. DUNCAN GRANT
IN SUPPORT OF CMS NOMECO’S FEE PETITION

M. DUNCAN GRANT declares the following:

1. I am a partner with Pepper Hamilton LLP, and my firm has worked with
Vinson & Elkins L.L.P. and Thompson & Knight LLP in representing garnishee CMS Nomeco
Congo, Inc. (“CMS Nomeco”) in this action. We have also worked with Vinson & Elkins L.L.P.
and Thompson & Knight LLP in representing CMS Nomeco in two additional lawsuits, (a)
Walker International Holdings Limited v. Republic of the Congo, Civil Action No. 05-MC-00156
(D. Del.), and (b) AfCap , Inc. and Walker International Holdings Limited v. Republic of the
Congo, Civil Action No. 1488-N (Del. Ch. Ct.).

2. Throughout the course of this action, my firm participated as a full “team
member” in the representation of CMS Nomeco. Thus, although it is true that we were local
counsel, we provided far more substantial services than local counsel often do. We were directly
involved in strategy decisions, in briefing, and in all of the other matters that were presented

during the course of this action. For those reasons, our time and expense charges were greater
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than they would have been if we had provided only filing services and minimal advisory
services.

3, I submit this Declaration in support of CMS Nomeco’s motion for
reimbursement of attorneys’ fees and costs that CMS Nomeco incurred in this action. The
Declaration and its two attachments set forth the fees and costs incurred by my law firm in
defending CMS Nomeco in this action. The statements in the Declaration are based upon my
personal knowledge and upon my firm’s billing records, which were prepared in the ordinary
course of the firm’s business,

4, I received my A.B. degree from Princeton University in 1972 and my J.D.
degree from the University of Pennsylvania Law School in 1975. I served as law clerk to Judge
Arlin M. Adams of the United States Court of Appeals for the Third Circuit from August 1975
through August 1976. I joined Pepper Hamilton LLP, which was then named Pepper, Hamilton
& Scheetz, in August 1976, and I became a partner in the firm in September 1983. I was
admitted to the Pennsylvania Bar in October 1975 and to the Delaware Bar in December 1991,
and I have been a member of the Bar of this Court since January 1992. I am also a member of
the Bars of the Supreme Court of the United States; the United States Courts of Appeals for the
Third, Tenth, Eleventh, and Federal Circuits; and the United States District Courts for the
Eastern District of Pennsylvania and the Northern District of New York. My practice has always
focused on commercial and corporate litigation matters, and I have significant experience in
those areas of law, including the trial of something over 25 cases and numerous appellate

arguments. Since becoming a member of the Delaware Bar in 1991, the most substantial portion

of my practice has been before this Court, the Delaware Court of Chancery, and the Delaware

Superior Court.
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5. James C. Carignan, an associate in our firm, has also provided services to
CMS Nomeco in this action. He received his B.A. degree from the University of Central Florida
in 1999 and his J.D. degree from Villanova University School of Law in 2002. Mr. Carignan
was admitted to the Delaware Bar in December 2002 and to the Bar of this Court in January
2003. In 2002 and 2003, he was an associate with Morris Nichols Arsht & Tunnell in
Wilmington, and he joined our firm in January 2004. Since joining our firm, Mr. Carignan has
worked in our corporate restructuring and bankruptcy practice group.

6. Acting through our Finance Committee, my law firm sets standard hourly
rates for each lawyer and paralegal in the firm, and such rates are normally adjusted as of
January 1 each year. The standard hourly rates are set after a thorough review by the Finance
Committee of the appropriate standard hourly rate that should be set each year for each lawyer
and paralegal in the firm. Following its annual review of relevant information, the Finance
Committee set the following standard hourly rates for Mr. Carignan and me for 2005, 2006, and
2007, and the firm charged CMS Nomeco (and other clients of the firm) for our time at our
standard hourly rates in each of those years:

° James C. Carignan, $230 in 2005, $270 in 2006, and $305 in 2007.

° M. Duncan Grant, $455 in 2005, $490 in 2006, and $520 in 2007.

7. The Excel spread sheet attached to this Declaration as Exhibit A sets forth
the time entries that my firm has billed to CMS Nomeco (or, in the case of time entries dated on
or after March 1, 2007, has not yet billed, but will bill, to CMS Nomeco) and for which CMS
Nomeco seeks reimbursement through its motion. Exhibit A contains only those time entries

that include time spent on this action. We have removed time entries in which all of the time
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relates to the Walker action pending in this Court, to the Court of Chancery action, or to other
legal services that we performed for CMS Nomeco that did not relate to this action.

8. For each time entry in Exhibit A, we have set forth the amount of time that
we spent and for which we billed CMS Nomeco and, separately, the amount of time for which
CMS Nomeco now seeks reimbursement from Af-Cap through the fee motion. The latter figure
is sometimes smaller than the former, specifically when a given time entry included both time
spent on this action and time spent on either the Walker action or the Court of Chancery action.
One example is my time entry for January 18, 2007, which shows that we billed CMS Nomeco
8.00 hours for my time that day, but for which CMS Nomeco is seeking reimbursement for only
4.00 hours, because my services were divided that day between this action and the Court of
Chancery action.

9. Where appropriate in order to protect attorney-client privilege, we have
redacted portions of time entries and have noted, in Exhibit A, each location where we have done
so.

10. As shown in Exhibit A, CMS Nomeco seeks reimbursement in the amount
of $66,156.25 in fees. My firm’s total fee charges to CMS Nomeco through yesterday (including
time that has been incurred by not yet billed) total $135,764.50. The difference of $69,608.25 is
due to two factors, (a) the reduction in the time included in time entries that are set forth in
Exhibit A (see paragraph 7 above), and (b) the exclusion from Exhibit A of time entries that
related solely to the Walker action, the Court of Chancery action, or to other legal services that

we performed for CMS Nomeco that did not relate to this action.

11. The cost charges that were incurred by my firm in this action on behalf of

CMS Nomeco and billed to CMS Nomeco, and for which CMS Nomeco seeks reimbursement
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through its motion, are set forth in Exhibit B to this Declaration. As shown in Exhibit B, CMS
Nomeco seeks reimbursement of $4,427.58 in costs. In order to be conservative, we have
omitted certain cost items (such as duplicating charges) from Exhibit B. With respect to

WestLaw research, we have determined the amount of the charges for searches conducted by Mr.

Carignan (thus omitting charges for WestLaw searches conducted on behalf of CMS Nomeco by
other lawyers in my firm). I believe that at least 80% of Mr. Carignan’s WestLaw time was
spent on this case, as opposed to the Walker case and the Court of Chancery case. Once again to
be conservative, however, CMS Nomeco is seeking reimbursement of only 75% of the Carignan-
generated WestLaw charges, and that is reflected in Exhibit B.

12. With the exception of about $14,000 still owing on recent invoices
(including two invoices on which payment is not yet due) and of time that has not yet been
billed, and with the further exception of wire transfer fees totaling less than $150 that were
deducted from CMS Nomeco’s payments to my firm, CMS Nomeco has paid all of my firm’s

invoices in full.
Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the

foregoing is true and correct. Executed on March 25 , 2007.

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M. DUNCAN GRANT
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EXHIBIT A
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mn Aided 40 Yeap adi “S UO JUaWLO> pue MaIAa:
uawBpn! AiewWuns 10} UOHOLU-SSO19 S,COaWION SWO

 

 

 

 

 

 

 

 

 

 

 

 

 

03 uonjsoddo ui jeg Buuamsue deg meiney = O0'0ZY'I$ ODE oo'Or'I$ CODE __ [| Weigueoung Wo 0Oe/S/t

 

 

“ynoo oy yum Buijy 10} Aides ezyeuy pue
‘{INOD O}e}S 0} BSED YUE jNANO@UUOD pUBWAL OF

 

 

uonou s,dea-sy 0} uoisoddo uj jeuq Ajdeuns
Oy O} BABE} 204 UOIJOLU JO Loddns ut Ajdei jo

 

  

 

_____ Yeap Sadr] “5 0} SuOISIA|! Sebpoy “3 MeINaY! SZ LES sz0 GTivES SLO weig uesung W_-S00z/ez/zi

 

 

“LNOD aje]S 0} BSEO YUE INoHIeUUCT pUuBWAL

 

0} uonow s,de>-py 0} UoWsoddo ul JaHq

 

 

Ajdauns ay 0} @Aed} 30} UOIJOU jo WoOddns

 

 

 

 

uj Ajdau 40 yesp edi] ‘© Uo JUeWUIOD pue maNeYy] ——«OS"ZZZ$ oo ogizzs }oso weigueounq WS OOZ/Zz/2h

 

‘adi] “S uj aouenbes

Buyouq ssnosip ‘(puewias 0} udHOW $.dea-yy 0}
uoysoddo uj yaig Ajdauns aj 0} @ABt JO}

UROL INO oO} uOISOddo pue juaWG6pnl Asewuwns
JOj uOHOU Ss} yo poddns uw Ajdau ‘eseo :

_ yueg jnoyOeUUOD Ul sjeuq deg+y omy Malnay Gz Lees SLO GZ bee$ SZ0 weg UEOUNG A S0OZ/Zz/zb

 

 

 

 

 

 

 

ynes yyw

~ Bul-@ JO} ‘JuaWYsIWeB Jo WM 0} JeMsUe

0} UORESILIOA Ppe oO} UOHOW Jo Woddns UI
Ajdai azyeuy ‘aseo yuRg joOaUUOD UI sdays

 

 

 

 

 

  

 

 

 

 

pou eld 07 adr] °S) YIM soUaIajU0D auoYdaja | os /zz$ | OS'0 , 05 '22z$ oS0 s,s ei. ueoUNg “‘W g00z/S1/Zb

 

“elues :
S8d}Alas Jo UORdISseq uoNped 224 UL | UONHed 66g Ul qwayid WAHD 0} “Kewoyy
iyBnog junowy —3YBNog sunoH (03 patiIg3UNOUTY! palig sunoH

;
i

 

 

 

 

 

 

 

 

 

 

 

 
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"WU@WIWIOD 10} SJAAME| s,den-yy

 

 

 

 

0} puss pue Japso Buynpeyds yesp ozeury

os ces

» S70

03221

sZ0

WURIS ueound W

900Z/LL/3

 

 

 

 

‘sapu0 Bulnpayos jo Yeup 0}

 

sebueyo SUDA 2 UCSUIA UO JUaUUCS pus MaIAaY

0s: Zz1$

seo

OS'224$

SZ0

WEIg UEDUNG ‘WW

900Z/FL/8

 

 

 

 

 

 

“SAINSOJOSIP JEU!

 

JO YEIP 0} SUDISIAS] SIOMO, f UO JUALULLOD pue MaIAal

 

 

 

‘puewep Aunt oy Bujeja uolssnosip ABajesjs paBayaud

 

 

- papepal] pue Japio Suljnpayss jo yesp BuipseBau

 

 

 

SI8MOd ‘f pue edi] ‘S YM eGueyoxe jeWy

0g 29¢$

sZ0

os z9¢$

$20

yueI5 YeOUNG WW

 

 

 

 

‘J@PsO

 

 

 

~~ Guynpeuds yep ‘sainsojosip jemiuy Buipaebai

 

 

 

 

SHEW-2 ajdninw JO MaiAa! pue }diaoey

00'18$

o¢'0

00°L8$

oc 0

ueuByED ‘9 sewer |

 

900Z/6/8

 

“SiaMOd ‘fT YIM alles Ssnosip puke ‘ded-jy

 

__0) pasodoid aq 0} J@pi0 Buynpayos yesp ‘wy

 

YIM syesp Jeupiny ebueyoxe pue ‘sainsopsip

 

 

JEN1U] JO YEIP SISMO ‘T }1Po PUB MaiAsY

00%

son 00/0868

00%

Wel UEOUNG ‘WH

900zre/s

 

 

“BINSOLOSIP [EIIUl 81 |eBSUNOd-09 WOY eWay

p0ro.

00°22

OL'0

ueubues “5 sower

9002/8/8

 

 

{uorssnosip ABazeljs

 

pabajiaud - payoepes] jeu) wny asiApe 0} adi] ‘S

 

 

0} #EWa ‘alNpayos jet) 184 BuipieGey ssequieyo

 

§,uosuIgo abpnr ywa aoussajyuoo euoudaje,

 

os eats

sz0

0S'ZZ1$

Sco

yueig uesUNG W

 

g007/ee/£

 

 
 

 

 

{uorssnosip ABayeays

 

peBayaud - papepau} pue Aleaoosip soy suejd

 

 

 

Suipse6as edi] ‘5 ym souaiajuco eucydaya|

~09'224$

Se'0

oS 2721S

sz0

ques ueoUNG "W

9O0eLe/L

 

 

“Saunsosiq |eENU}

 

j0 Yep adr} *5 Meine ‘esed D4 uj UOISIDEp

 

WNDID WIG JO MBIA’! Bja|dwo0o ‘pieweg esheyy

 

jO uoeuepap jo Guyy jo aoHOU aZyeUl4

co'Sre$

os'0

00'SPz$

0s

yeild ueoung 'W

g00z/ge/2

 

 

 

"JU@LWWOD 10) adi} “S 0} pugs pue ‘yuaWwYsUeS

 

(JO JJM O} Jemsue Ayan 0) prewag

 

 

ashieyy jO UORBJE;OEp Jo Huily jo eojou YeIG

 

os eels

sone 0.

0S @zb$

$20.

 

yess) UBDUNG ‘W

9O00Z/ST/L

 

 

 

“uone Bai

 

Od Sth Ul JOABS S,0QBWON SIND Ul UOISIOap

 

}NDND Ujg jo wMaIA|l jeniuL GuauUuBpn/

 

 

Aewiwns JO} suoHoW Seed UjOg jo feluep

 

S8DIAIBS JO UOndISAG

 

 

UOHHad a4 U}
: 3yGnos nowy

 

“ORNed 6eq U}
ywBnosg sunop#

 

 

wslld

 

 

JWUAID 0}

03 Peliig wuNOWY pPaliig SINOH

 

 

Aauiony

 

‘ayeq

 

 
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UO JUaLWOS pUe MaiAas ‘aSed ded-jy ul UOISsIOep

 

JIN) UIG SABPIO}SEA Jo qIemEjag ul Pedus

 

jeguajod BuipueBar adiq -s Ujim ebueypxe jeLug

00'Sres

os'0

00'Sres

JUBID UEOUNG “W

” goozre2/e

 

 

 

 

“sapio Buynpayos |

 

 

@1 Spee sdiyjnu yo AMelAa Pue ydisoey

o0' Ess

oc’

00° 18$

ueubueg “9 sower

 

goozrz/e

 

‘oBu0g jo ayqndey

 

‘A degiy ut Aepo} panssi vorsioep Wrong

 

 

UYI4 MAIAal IPO Buljnpauos 0) sebueyo jeuy

 

 

 

ajejobau 0} jesunoo s,ded-yy YIM soUaajUOD

 

 

suoydaya} {JeSuNOd S .de5-1y YM pue jasunod-0o

 

yun aures ssnosip pue Japio Buynpayos

 

JO SUOISIAA Meu eidiynu yelp :vOneBRY

 

 

@JEME|AQ 40} ABeyeNS pue snye}s Suipsebas

 

Tey (M pue adi] “*© yy je souesejU0g|

OS Aves

SL¢é

OS APES

SL¢

ues ueoung Ww

 

 

“s10AMe|

 

 

$.deQ-yy 0} UdUy pus SyUaLUOs 10) adrq ‘5 0}

 

} WWSUe} pue sapso Gulnpays yelp esiaa.

 

{QOUSIOZUOS Buuno}[o; edi] ‘S) YM SUOISSNosip

 

Jouyny ‘aouasajuco 10) ABayesys uno uejd

 

“ 0} BouBApe Ul Bd “5 YM BoUaIAZUOS euoYydala}

 

‘uosuiqoy apne yim aouesajuce Buynpayos

0S ZOL'LS

 

OF ZOL' ES

 

StS

See

WUBIN UBOUNG Ww .

900z/22/8

 

 

“s@pso Guynpoyos a: sjuewiyoRpe

 

 

pue sijeui-s ojdiyinus yo MolAeJ pug \dIg00y

00'vS$

020

00'rS$

“0z'0

ueubue ‘9 sewer

goozzz/e

 

 

“aquaiayuos Buyynpeyos Buiunp passnosip eq 0}

 

sonss! ouiNe ‘uosuIqoy aBpnr yy soua1ajU0D

 

Suynpeyos S,MO]IOWUO} 105 Ud 0} 3dry

 

 

“9 NIM SBduaiajuce auoUde)a} aidiyn ‘ewes

 

BulpieGe sioAmel s,deo-sy yy SUOISSROSID

 

 

‘ewes Buiprebes edi] °S yy syeo euoyd

 

pue Sew Sdiyjnui Japio Buynpeuos esinay

OO'SEZ'S”

os'€

 

Ose

weg ueoung w

| 9002/28

 

 

‘JWELULOS JO} adr “H 0} YeIp Mau S,deaqy

 

pseMios JOplo Buynpayos 0} seBueuo Gurpiebiax

 

 

__ (Gunes ab Gaqueeid) uejdeyy UN spew

 

cv, OO'SVES

050

 

“yepio Bulnpayos Maine! pue diese,

6°28

O0'Sbzs

080

 

_ 900zoze

 

 

00°22

mob

ueubued ‘5 sewer

900z/81/8

 

 

‘awes BuipieGes SUD Y UOSUIA WM STEWE

 

‘owes SuipseGes (Bynes) Bisqueeig) uejdey -y

 

 

 

UIA, BdUalasU0D auOUdeIE} Epic Burnpauos jo

 

Yelp sno 0} sucIsiAay pesodold s.deo-sy mainey

0S°29€$

S20

oS '49e$

‘SLO

ques uBOUNG ‘W

QO0T/BH/8

 

 

S8O}AINS Jo UONdUDSEQ

 

UONHGd 684 Ul
y6nos junowy

 

UOHNOd 864 Ul
yBnos suncH

 

 

weld
0} paliig junowy

 

WAH]D 0}
Peilig sinoy

 

Aawiony

 

ayeq

 

 
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“‘uOpUO? Uy UeUR Joujed

 

BIEMBIAQ Ul SANEJUasesdas ayeIOdIOD OOSWION

 

 

SIND esodap 0} dwayne s,dea-yy 0} suonoaiqo

 

 

 

 

 

 

ino Bulpueber adiy © ym eBueyoxe jews

0g 2zi$

Sco

os'e21$

sz0

yuels UBOUNG "WW

9OOZ/L/LE

 

 

 

 

 

 

‘anssi UOHBDO} uoHSOdap

 

(9)(q)o¢g Suiprebes sjreus-a jo ydieoey

00°22$

obo

00'2z$

O10

ueubueo 2 sewer

9OOZ/ LL

 

 

 

 

“SUES 8) JUEIS ‘Gg 0} OlUSLU pue UOIWsOdap

 

 

 

(9)(Q)G¢ jo uOe90] a1 anssi YouResoy

00'Sv6$

ost

O0'SrE$

osc

ueubueg ‘9 sewer

9002/LE/OL

 

 

 

 

 

 

 

Sf Jo episino Sepisal ssauym uSyM|

 

aaubisep ajesodioo sjuepuajap jo uonsodap

 

(9)(a)og any 10) UoNeD0) Jedoid Buizhjeue

 

 

 

WuNpueloWeL UBUBHeD ‘fT SZAJEUB PUB MOIACY

Os'2zks

se0

oS 'Z21$

$z'0

© go0z/be/Ol

 

 

‘ysnueb o} Bunduaye

 

si deg-yy yey} suoHeByqo AyeXos ayy

 

 

 

Bunoaye suojoesuBy ajeiodiod Aue jo soueape

 

 

ul sABp O¢ deo-uy esiape AjiejunjoA OS@UWON SWO

 

 

yeu} ysonbe s,de5-sy 0} puodsau pue azsjeue

 

 

0} adi] 'D 4pm Syewe ajdyjnui pue eo euoUd

00'Sres

0s°0

00'SPz$

 

 

as‘0

queig ueoung ‘W

 

 

 

‘900Z/08/01

 

 

“ded-4y 0} Aides yeup sedi]:

 

"© UO JUBLUWOO pUe MIA! ‘sJesse sy! jo Aue Jo

 

JUSLUSAOWW UI JO OUN}OMU]S ayeJOdJOO S,COAWON SIND

 

ur aBueyo Aue jo aoyjou SAep OF 10; senboz

 

J2uOPPe SY pue aseo Yue jONOeUUCD

 

 

 

ul ynuield se deo-sy JO LONNSAns

 

450} ysonbai deg-yy ezAjeue pues mandy

OS 2zt$

OS'7Z1$

$20

queld ueoung ‘WW

900Z/2Z/0,

 

 

‘deoiv

 

Aq panias sjsanba: juewnoop 0} axel pinous

 

OD@LUON SIND 124} sesuodsel uo Wy BulsiApe

 

X04 Y 0} Wal adi “9 eZAJeue pue Mainay

OS ZZ1$

ga

os'ezis

Sco

quess uedUNg ‘W

 

 

900z/SZ/0)

 

 

~"gainsojosip pue Suynpeyos! |

 

QJ SBUW-2 a|dyinu JO MaIAQs pu ydisoay

00'18$

o¢'0

oo res |

og 0

ueube5 “9 sower

g00Z/L/6

 

 

“HOOND YY!S

 

 

auy Aq udisioap Bumojjoj oueq us GuBayou pue

 

Buueeya: jaued 10} suowjad $,deo-sy Malaay

oS z2ts

S20

os e24$

S20

qweig uEDUNG We

9002/9/6

 

 

 

“uoqebiy SIBMEISG Ul SNIBys jo

 

tury BUISIApe XO yO} etWa JO Yep adiq ‘}

 

 

 

S8dIAIVS jo LONndLSsEg

UOnNed 264 UI

 

 

: wWBHnos junowy

UOHHad aay ut
yuBnos sunoy

 

 

 

JUBHD
0} paiiig unowy

 

 

quay|D oF
peyig sino}

 

Aawony

ayeg

 

 

 

 
 

UJIM aoualeji0D As@A09SIP OMIT E 403 ued 0}

 

 

 

 

“SiIOMOd f pue adi7] “S YyM eouasaju0d euoYyderoL 0S 29¢$ ° G20 Os 29¢$ SZ0 jues5 uesuNnd w 900Z/62/ bh

 

“‘uorsodep (9)(a)oe amy yo edoos.
0} Bunejel syetia ajdRinus MaIAes ;COSUION SND

 

 

jo uonsodap (9)(q)oE a1Ny ain edejoapiA 0}

 

 

 

denjjy Aq poye eqissod sop syejop GuipueBes!

 

 

XO "Yy pue adiq ‘S ym eouaiqyuoo auoydejay = OOFZZIS_— SZO “oszzig SO “que ueoung We S00Z/ZZ/LL

 

 

 

 

~“gpefans ajqissjuied jo edoos:

 

pue ‘voreso; ‘Bui Suipnjoul ‘xo4 puejoy jo

 

uonisodap (9)(q)og any 10) ABayeyjs pue sued

 

 

 

Burprebes adr] “O yum aoussajU00 auOYdalay oszzis =| Sz oSz2ls S70 ques UEUNG “W gOOZ/eZ/tb

 

awes BuipieBal jueID ‘G

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

00° 168$ oe ooess = OLE ueubyeg ‘Q sewer GOOZ/LI/TE
___ fenss) ABaye.ys uonIsodap - eGaiaud - pajoepal] _
econ se, AoHOUM BuIzZAjeUe EUs S,ueUBLED "fF Mee os'221$ 20 os"eet$ S2'0 JuBI UEOUNG TW GOORL EEL
___ fanss| ABeyens uonisodep sno
- aBaliaud - papepes) burysieasai uibeg 00'Sor$ OSL 00'SOr$ 0st ueubueg ‘OQ sewer | gOOZ/OL/LL
[enss| ABazeys uolsodap i

~ eBajiaud - payepai] Buipiefes ues “Gg YNMIaJUOD; =— OO EBS | ogo 00°19 oo ueuBueg ‘QO sawer | gO0Z/SI/TL
“Aianoasip Buipebar edry °5 04 129 00'22$ 010 ozs OO | ueuBUeD ‘OQ sewer 900Z/EL/LL
"@SED YURQ INOHO@UUOD UI sjsenbai Aenoosip ee —

deQ-sy 0} sesuodsal Jo UO|SIOA JEU MeIAeY 00°Srz$ os'0 oosezs 050s] We uEOUNG’ WOOTEN IL

 

 

 

 

 

‘QS89 yUeg INOHOaUUOD

 

uj sysonbas Auaaoosip s,den-sy 0} sasuodsai

 

 

Jo Yesp SUPA UOSUIA Poyepdn MaAeY! =— OG ZZIS | $Z'0 aszzt$ S70 __ dei UEDUAG WW | 900ZIZ HET

 

 

 

 

‘paureyd se degyy)

 

 

aINWSQns oO} UOHOW $,yueg jNONDeUUOD O}

 

asuddse: BuipreBar pue ABayens GuipreBas adr]

 

"2 yum ebueyoxe jrewa ‘eseo yueg JnoySULOD

 

au} ul Sjsanbeu Araacosip s,deo-yy 0} sesucdsa,

 

40 yeap adr] “c) UO jueUIUIOD pueMeAeY! =» OOD06PS =| ODE _ 0008r$ | OOF yuelp ueoung WW | 900z/e/LS

 

 

“aseo yURG jNoYWOaUUO. UT Ss}senbes AisACOsIp

 

 

S,deo yy 0} sxew 0; sucnselge eyeudoidde

 

 

SSNOSIP 0} Sd) “O WIM BoUAalajUOD aUOYda;eL| ~—sOS ZZIS sz'0 oszzis | sz0 , jueig ueoung W OO

 

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SadJAIeS jo uoHdHOsSeGg UOIN}Od 8844 Ul | UORed a04 UE yey quay 07 Aewony \ 9yeg
wyBnos junowy = jyGnog sunoH 0} pel|igjunoury payig sano}

 

 

 

 

 

 

 

 

 

 
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tui} [EUOMPPe OJ ysenbau $,deq-sy Buiprebos

 

adr} 5 unm seo euoyd pue sjrewe adyiny

0g L9e$

“E20

00 06%$

00°}

yue5 ueounq W

 gOOzZ ZL

 

 

 

 

 

"WES 1 JUBIS) ‘G 0} OlueW pue fenssi!

 

 

 

{ABayesys voHe5izy - abaiiaud - pepepel] youeasey|

oo'egs ls

~ o0'e9s'tS

069

ueubued ‘D sewer

9002/1 L/ZL

 

 

jadneey preg Aq paedaid

 

yoda: padxa maiaaa ‘fanssi ABayeas uonebiy!

 

~ aBayaud - payepas] jo sisAjeue yen S,ueubueED

 

UO JU@LULUOD PUB MaIAa! ‘sonOBId jeOO] asEMEIOg

 

UTI LUOJUOD 0} BlUeS YPe PUR MOIASL ‘sed yUeg

 

yoPpeUUOy UI panies aq 0} s}sanbai AJanoosip

 

0S ZL9$

StL

OS'ZL9S

sz

QOOZ/E LZ

 

punogjno Buipiebas adiz ‘9 ym sHeUe aidiinyy!

 

__[anssi ABayeqs uonebny ~ aBopaud - poypepa]:

__ quelg veoung “W_

 

 

 

Oj! Yoreasel yebe] jonpuoDS o} UeLBUeD

 

'f y8e ‘owes jo suoEoyduy Buipiebes adr] .

 

UNM s}ewe ‘QOBUION SIND Aq papasu Alaacosip

 

JO uonefdiios Jeye uonowW euy Maud: 0}

 

yuBu sde5-sy 0} esipniaid yoy ‘ynuletd

 

SE yUeG INOPISUUOD 10} |INWYSqns o} UOOU:

 

s,de9-jy BuiAuap Jepio $,n0o jeepay Ma;AeY

 

 

a0°SPzs

0$°0

 

“ynsme|!

sac sesnnfensan » OO SPREE

03'0 |

ques) UESUNG “WW

 

 

 

HNO AlsoueyD ul Nod 0} oda snje}s

 

JO Yeap UM SN Spiaoid 0} UONEBIIgo sayy

 

BupseBas suokme] Gunes] Biaquaaig uM sirewa

 

‘SSOUUM | {9Xq)oe ainy se xo4 “y Jo uonisodap

 

$0 $}Jnse1 BuipseGor edi] “5 uM gouasejuoo

 

 

auoydaja} “aouesa4u00 405 ayep MAU SE Z0/p/L

 

WUIZUOD O} PU ‘OO/H/Z} UO eouaiajucd Aisaoosip

 

 

peau you op Samed JEU} SSIApe 0} WEIS

 

 

LNOD JOR|UOD ‘souesajUOD ALGAOISIP 9O/F/Z | JO

 

 

jusiuaUOd}sod ued 9} ueldey "y pue adr} ‘S YA

 

 

 

adusaju0d suoYdale} ‘eSed yUeg JNoNDeUUOD

 

 

 

 

ul Sojndsip Aieaoosip uO uOHISod S,cOSWION

 

SIND Buluipno ucsuigoy abpne 0} JO}aj JO

 

 

Suolpod jo yeup odrq "5 uO jUaWWWOD pue MalAay

0S'Z19$

Seb

 

 

 

 

 

“podas snje]s pue seded vomsod

 

‘Buipiebas SIIEU-S JO MAIAGI PU }diaoay

O10

00'22$

o1o.

_queid ueoundg ‘W

 

 

 

 

_ueUBED ‘9 sewer

v-[,, BOOBS

 

 

‘ayndsip

 

 

ul ele Jey) SANSs] A@AGDSIP UO UOHSod

 

$,099WON SIND JO UNOS aul Buisiape Undo

 

 

 

 

OU} 0} 19H] 9O/L/ZL 4NO Bulpnjour ‘nos

 

SBdAJES JO UOHdLOSEGg

 

UONNed 334 Ul
3468nog junouy

 

uoHned 884 Uy

 

qWBYD

3Bnog sunoH 0} pailig nowy

 

qUAHD 0}
pag sunoy

 

 

 

 

 
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“2002 Areniqay

 

 

 

 

ur AyeAos yO pun-ul jo Bupye} S,OdNS ulofue 0) ded-yy

 

Aq uonow pejedionue 0} asuodse: 10) pue [ABsyeys

 

 

 

uoyebryy - aBallaud - pepepai | soy ABayesys buripieBan

 

 

SIaMOd “¢ pue diy‘ ym stews adainy

00 092s

eo”

00'09z$

os'0

jue UEOUNG W

~ LO0Z/6/t

 

 

 

 

 

“SONSS! YOJBASOJ @! PUBID ‘CQ O} owew

“00° 298

Ob'e

00°295$

Ob?

ueubued ‘9 sewer

gooz/tzeb

 

 

 

 

 

‘[saey skawoype jo Gunyus 0} $3je;O1

 

 

 

 

~ aBayiaud - payepal) ‘Suyyoreasai anuRuOD

o0'9s2$

08%

oo'9sZz$

ose

ueuBued 9 sewer

 

 

“900z/0z/et

 

‘fso9) sAaucye jo Suiyiys 0} sayejo.

 

 

 

~ aBopaud - paysepas) Guiyoseesas snuNUOD

00°S¥6S

Ose

00'Sb6$

ose

ueubues ‘5 sewer

900Z/6 LZ

 

 

 

 

 

 

‘[saqj shawiope jo Buys 0} $ajz/91.

 

 

~ aBapaud - pepepa] Guiyoueesas uibag

00°022$

00°F

00'022$

00'L

ueubues 9 sower

“9002/8 ZL

 

 

 

“aues Bulpiebes edrq “9 UM s}eWwa “UNOS UWA

 

Burjy-e Joy aGuewe pue ‘uonoe Lindo jesape;

 

“UL juauuys}tue5 jo YM O} Jomsue je]UaWajddns

 

 

9} 0} @ABO} JO} UOROW pesoddoun azyeuly

__ 00'S¥2$

_ 0S°0

00'Sres

0S'0

yuelg wesuNg ‘W

9007/8 L/et

 

 

 

 

{sea , Skawone jo

 

quawAed andas 0} puog 0} pejejes sansst Asenoosip

 

 

- aBapiaud - papepes} opi youeesa: je6ay

 

 

Joypny pap o} uUeUBLED ‘Pf UM eoUaIaUOD

0S 22h$

S20

0S'2Z1$

$20

 

“BID UEUAG ‘IW

QOOZ/PE ZL

 

 

QWES 81 JUBID) “C] 0} [lewd pue [sea} SAaLOHE Jo

 

 

 

yuawAed aindes 0} puog 0} pareja! senss! A:@AcosIp

 

 

- aBoplaud - pepepal] yoseasoy

_00'E1S$

06'L

oo'etst

06")

ueubues ‘5 sewer

QOOZ/EL/ZL

 

 

"@LUBS 95 OWALU 0} Spe pue [soaj shawO]e jo:

 

juawAed gunoas 0} puog 0} pejejas senss! Al@Acosip

 

~ aBayaud ~ payoepad] as yueId “Gg YM JQ}U0D

00°791$

09°0

00'294$

ueubued ‘9 sawer

Q9OOZ/EL/CE

 

 

nner ‘[seq) sAawoye jo

 

yuewAed alnoes 0} pudg 0} pajejai sonssi Aiancosip

 

~ aBayaud - payepa] a) yoseases jeuolppy

00 LS¢e$

oct

__00'1S€$

ort

ueubles “9 sewer

900e/2 Heh

 

 

“SUOISIDEp WNOND YYl4 Woy Guise

 

 

 

 

 

senssi jueseid Ajjewio) 0} 1Opso ul ‘Sased

 

_yneg Aieoueyd pue YN0d jesepey BEMe|Aq] U

 

SiSMSUE jejUaWaddns aj) 0} SUOROW Jo SYEIp

 

adi “9 uo Juauw0o pue maiAal iadneey “G Aq

 

usRum poda: padxea uno azyeuy ‘eseo yuRg

 

Waryoeuucy ay} ul odes Pedxe sj} e/ues 0}

 

 

S8jAIBS JO UORdLOSeG

 

uOoNed 234 Ul]
juBinos junowy

 

 

 

 

 

UOPHed 3a Ul
WBnos sunoy

 

0} Poltig junoWly

sued

 

 

Wa[}D 03
peliig sano}

 

 

Aawony

aed

 

 

 
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Uno 0} uOISSiWgNS jo YeIP edry 'S US jusUIWD

‘pf MalAas ‘Sayndsip AI@AOTSIP 0} Suyeje.

 

 

 

PUe MIIAAI ‘SESE PN jeJapay puke pNCD

 

Arsouey YJOq U} |ASUNC-Cd JO UOISSIWPE SO1A

 

oey oid 40} suoljou ezijeuy pue yeip ‘eseo

 

“pN0S jesapaj ul jeyas AOuaBiawa 10) uoyow

 

 

 

syauresd 0} uolsoddo ut yauq Areunujaid

 

JO Wesp edi] °S Uc Ju@UsIOO pur MaIAaY

OO'OL} ES

SoS

 

00 Ove 'Z$

os?

JueI5 UEOUNG W

L00Z/94/¢

 

 

"LO/BL/} UO ssouereedde pnoo Joy ued

 

Oo} UBuEG “y puke adi] ‘5 UY SHEWS aidniny,

00'0e L$

' $z'0

co oeKs

yes ueoung WwW

LOOT/S LAL

 

“Gz0

 

 

sanssi Bunsyjno ufeq

 

pue fjoyas Aouebsawe Jo; uonow dea-yy

 

 

0} Seyejad - ebapaud - pepepei] a2 Wwess ‘CG Uy 19JU05

00°22¢$

ov"

00'LeFS

Ov't

ueubueD “5 sewer

 

 

“ase Nod

 

ooze

 

j2Jap9j ut suoTRSodep jo Seo1oU eau Suny

 

 

 

 

JO} OZHEUy pue Majres ‘GuIy 204 YW azZHeUY

 

~"" pue @Wes 8SIABI pue ‘ase NOD AleoueyD

 

Ul jue|dLUOO papuale PUuddEs ajy 0} UONOW

 

 

synuiesd 0} uopsoddo ut yauq Buuemsue jo perp:

 

 

adry ‘5 maiaal '[A6aje3s uoyebiqy - aGapaud - peyoepey]

 

Buipnjour ‘sanss) Buynpeyos pue Aranoosip

 

 

Burpee: edi] 5 ypM 120 ayeJedas ‘[jola: Aouabiowe

 

JO} uOOW deg-sy 0} sayejai - aBayaud - pajoepal]

 

Jo} ASeyens ueld 0) uewuag ‘y ‘adi ‘9 'xoy “Yy

 

YUM {]B9 aouasajuios ‘[yoyas Aouafiiawea 40} uONOLU

 

 

deo-sy 0} sejejau - aBapaud - paeyoepas) 0} yoreesal:

 

 

je6a; ubisse 0) uBuBues ¢ UM soualaju0g

00'09S'1S

o0°€

00'082'2$

Ses

yueId UeOUNG ‘IW

LO0z/Z bit

 

 

“sBuyy Aouaiseawa payejas pue

 

uoljou uoRejsenbes jo yoddns uy sauq meInoy

00'019$

OO'OL9$

00°?

 

ueubyed "S sewer

 

~ LOO@/L UL

 

 

"OSED [NOS jes@pej 10} JoplO AjYEHUaPYLICD Jo Yes bunesy

 

 

Biaqueaig UO JuaWLUOD pues Matael ‘[ABayeus uojeb

 

 

- aba Aud - papepay] uo yoeeses jebaj sueubueg if

 

 

 

paup ‘owes BuipseBas adi} “Ss uy sucissnosip

 

aydninus ‘ywaepiye Buroddns pue jauq

 

 

 

Buluedo s,deo-yy Buipnjour ‘aseo ynco jeepe,

 

up uonountuy AosuaGiews pue ‘voyeysenbas

 

‘yduuajucs 10) uOHOW dea-yy malaga ‘aseo

 

unoy Araoueyd ur juiejduuoo papuawe puodas ayy

 

0} BABS] 10} UOHOLU SyUIE}d 0} UOIsoddo

 

 

Ul Jaq JO Yep adi) “S uo JOLIN Ue MalAgY

oo ocr lS

©
S
™

Cetin

ane
UU a0 FD

Le

 

 

 

SODIAIEg jo UORdOSeq

 

 

UOHRe” 84 Ul
yuBnos Junowy

 

UONHsd, 687 Ul
yyBnos sunoy

 

aD
0} peiiig yunowy

 

WSYD 03
paliig sInoH

 

 

 

 

 

 
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PAOD |esapaj ul sysanbe: AisAcosip $,deo-jy

 

 

 

 

0} sasuodsau ano Jo) Buyin BuipieBer siamo

 

 

 

 

 

“f pue adi] ‘S RM silewe ‘adi] ‘> yy ewes

 

 

 

 

 

ssnosip apse pasodoid enjeUeye sdeqiy

 

 

 

 

 

MaIAGl JNGo Aq paulUUEyep aq 0} senss!

 

 

 

 

eGo; pjoyse:y uodn-paasbe Bunoeye. uoyoe

 

 

HNO 1249PS} 10} BPO JO YEP adr 9 main[y

_., 2002S

00"!

o0'0zs$

004

yuess UEOUNG W

_ £002

 

 

 

 

 

“@SEO ynoo jeiapay ut UOHEULOJU jequapyuoo: _

 

 

 

“Jo ainsopsip WweAd6 pinom Jeyy Jeps0

 

 

— @Al}a9}01d G7 SUOIS|ADI UC JOM ‘Saouesaedde

 

 

 

PND alOjaq ‘eoUasJaJUOS SNEIS YORS

 

 

 

 

18 syuene uo podas 0} X04 "Yy UM sDUEI9jU0D

 

 

 

 

 

 

_auoydeye} : ‘uosuigoy abpnr pue sug s0ySouRYD

 

 

 

 

 

BOI Aq U@AIB suONDeNp jo }YB}} Ui sdays yxau

 

 

Joy ABQq23]S doyenap 0) pue aes so} ued 0}:

 

 

 

ueuLeg “y pue ‘gaamog “f 'adry ‘S uy sbuyjeau

 

 

ajdijnus ‘seseo ynoo jElepay pue ynoa

 

 

Kianueud ujoq ul sequela snyels puspy

00'080'2$

00'F

00'091'r$

008

yuers ueaUNG ‘IN

L007BLIt

 

 

 

“LO/BL/, UO peo 5 |eJape}

 

pue yn05 Aisoueyd Ut Pay Bq OF $99U810jU00

 

Snjeqs JO} Ueld 0} UBWWAag "y pue ‘sIaMOg

 

 

‘pad "9 um Bujesw ‘awes Buiprebas

 

adr 5 yy suo|ssnosip ajdginw ‘ewes

 

0} sabueyo pesodasd siy ssnosip 0} xO4 YUM

 

 

 

BOUTIJUOS SUOYda}a} ‘NOD peJEPA} Ul Jorfeu

 

 

 

kouabiawe 10) uonow s,de5-yy 0} uosoddo

 

 

 

ui sang Areunutjaid jo Buype yueoyiuBis pue

 

 

MAING! ‘SIOMOd ‘f pue adry “9 IM BWES SSNOSip

 

pue UOISsiUQns Sdea jy Malnal ‘papeles degyy

 

 

YOIUM ‘pNOO oO} uOISsitugns yuo! e ui UONsod

 

$,de5-sy apniour 0} spoye Bulpebes uejdey

 

UUM spews *20/8 1/} UO NOD LYM Passnasip

 

 

Bq 0} Senss! AJBACOSIP UO SMBIA S,ODBWION

 

SIND Bunuasaid pnoo jerepe; 0} sane] ezeUuly

oo'org'es

oo'2

00°0£0'r$

 

 

 

“Wes 8) VONDES Jeg

qUBID UBdUNG |W

LOOZ/LEE

 

 

 

‘Aouebiewie JO} UOOW

 

dejjy o} Soje|60 - aboalid - - papepe:] yoresay

_00°F82'1$

FOZ

 

00°+82'1$_

 

 

“aseo NOD fiaoueyy ut Aepo} anp yoda snyeys

 

 

SHED "O Sewer | 400Z/91/1

 

 

0} sabueys pasodoid sadry “9 pesu! pue maine,

 

‘Jauq Oui Yasui 0} adi] “| 0} ewes psenuo; pue

 

‘fpauas AouaSsawis 10} uoyou deo-jy 0} sayeies

 

- 6ayaud - poyepeas] uo winpugiowew jebo; ueubueD

 

 

S9DIAIOS JO UONdOseg

 

“one, a4 UW

ywBnosg sinoy

 

 

 

 

: wBnos yunoury

uOnned ee Ul |

 

 

"wal
0} pajiig junowy

 

 

UaHD 0}
pata sunoH

 

 

Aawopny

 

 

Reg

 

 
 

“WNPUBIOLUSWU

 

 

 

 

au} Uo BunuawUU0S pue Buiiusues} edi] ‘5 0} WeWa

 

 

 

 

‘feBopaud - payeped) seyjoum uoysenb au GuizApeue

 

 

 

wnpueiowaw sueuBues ‘f ezieue PUB MeIAgY 00°09z$ 0s°0 ~ 00'09z$ 0s'0 | weg ueoung "W LOOZISHZ

 

 

 

 

 

 

‘fsBuipeaid ey}

 

 

 

 

uo juawBpni 30; UOROLU COBLUON SIND 0} uonisoddo _ : ce __ cod . coe

 

 

ul jauq Huyamsue deo-sy 0} asucdsa 0} sayelas

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~ aBepauid - pajepal] jo Yoleesas uibag, —os‘g00'1$ | OF os'g00'r$ | oe ueubueD ‘Qsower — — L00Z/P/Z
‘sbupead ey, wo i Sn
uo jUSWBpNI JO UOIJOU CO@WION SIND 0} uoRsoddo . : ce
th yeug Guyamsue s.ded-jy 40 MalAa JentUl o0'09¢$_ oso 00'09z$ 050 __Jueip ueoung ‘W L00Z/Z 12 _
ote oe net "iinoo Kisoueup |

 

Ul Pally Oq OF FESSILUSIP JO UOHEINdYS ynoge

 

 

‘adr S pue jasunoo Buisoddo ym suoissnosip

 

 

 

 

snolewuinu ‘sueded uonow jo Huljy-o 104

 

abUEuE ‘}as} UONROW JO Yesp edry “S ype!

 

 

 

pue MaiAa! ‘BSED YNOd |EJepaj Ul sbuipeed:

 

 

@y} uo jUauUBpNf 40; uoqoul jo poddns Ul Jauq:

 

 

Buiuado jo yelp adi] “© oy suoisine: yeIQ, = OD'O8O'ZS = OO oo'o09g'z$ 00's WueIg ueoung WW LOOZ/9Z/t

 

 

"HNO AieoueyD uM pail

 

aq 0} JESSIWSIP JO UONE|NdHs Jo WO} noge

 

jasunoo Hursoddo yym suoissnosip ofdiynu

 

 

“!PESSOIPPE JE SONSSI! 1AYIO B0}9q PaeUG

 

 

aq 0} senss: je6a, proysey3 0} Bunejas

 

 

BSBO NOD jesapa9} 40} VOReINdAS jo yep

 

adr] ‘5 uo JUaWWWWOS pue MBIAeL ‘jou Jo yep

 

7S1y S,adr] “S UO JUaWLUOD pug maiAe! ‘ase

 

UNOS jesSp|y Ul POI 3q 0} Jaq 40) SuBd

 

SurpseGes edi] “© yim seousiajuoo aidinwy, = ODOLE'ES | SZ'% _00'09S'I$ = | COE weig veoung W = _LO0z/Sz/t

 

 

 

 

Y@LULOO

 

40j Gunes; GBiaquaais oF alWeS puds pue ‘eased

 

 

pinoy Aisouey? 40 ;Essitusip jo uoTEjndys

 

}pa pue mates ‘yeip s Gunes, Gisquaasg

 

WM swalqoid jo sisApeue Burpnpouy ‘aoeid
axe} SOulpsaoqid jeuoippe Aue e10jeq payaiiq
aq 0} Senss! jee} pjousesy} AypUSp! OF

noo jelapey oy Jueseid Q} UOHEINANS yO WOES

 

 

 

 

 

SuipieBal adr] “9 yim souaiajuoo suoYydala | 00 06e$ $Z0 00°0eS$ JURIQ UPOUnG W 200Z/72/b

 

 

 

 

 

““LOIGLL UO NED

 

 

 

 

Aq pasapio Aiaacosip jo Aeys jo yy 64 ur ‘aseo fd. ee

 

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SODIAI9S JO UOT DS9q | UOnNed a4 UL | UORHed aeg Ut Wed qUaHD 03 Aowiony aed
: yyBnog JunOowy | 3YyBnog sunoH 0} paliig yuNowY: paijig sinoH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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@UWeS WSUBL} PUB ‘UOnEd @ay COBWON SID

 

 

 

 

yo yoddns ui pasn aq 0} ‘sefueuo aun Bumoys

 

 

 

“ yeoys peasds jo pue uojelepep Aw jo yesp ezieuls

00 06E$

S20

00'06e$

SLO

qUBIQ UBOUNG ‘WW

LOOZ/6VE

 

 

 

uolyereyoep Bunioddns pue uonyed aaj uo UO soupng

oo 06e$

S20

00'0zs$

 

oo'b

yuelg UeoUNG ‘WW

~ LOOZIOLIE

 

 

 

 

yaepyye Buroddns

 

 

 

 

pue [6unsys aa) Bupjess jou - payepal] uO WOM

00'0zg$

QO'F

00'00e" FS

ose

yuers UEDUNG “IN

L00e/e1/e

 

 

 

 

_ s9791 dEQ-Hy 08)

 

 

Ssuodsai Ui UNOS 0} as SIEMOd ‘f PUB ueubueg ft

 

 

yey} saa; MalAas ‘ueUBUeD ‘f 0} yougesas 1eB9| ubisse

 

‘Apeaayeyun uojoe UNCo pe19pej SSILUSIP 0} jdwaye § deo

 

 

 

ynoge 1879} 20/6/€ 1Nd 0} Buipuodsel pnco 0} Ja}9}

 

dea-yy mona ‘[Bunyys oa Surjsas yOu - paypepay]

00°09z$

os'0

oooess

queig ueoUNG W

LO0Z/ZLVE

 

 

 

 

“yadouduat $1 uONDe SSIUSIp OF ydwape yeu:

 

 

UONISOd S,CD@WION SND Buje\s pnd OF Janat Jo yeup

 

adi] ‘5 ype pue marae ‘edi “9 um esuodsai ssnosip pug

 

"UOHOE PNCO jB@p|j JO JESSTWWSIP JO soNou S,deg-sy MalAaY

oo 06e$

S20

00'06E$

$20

yueld UeOUNG “/y

 

 

 

‘awes jo Buyyj-2 asip pue ‘esuodsa:

LO0CIGIE,

 

 

 

S,OD8LUON SID JO Yelp edi} “ uo JuaLULUOD pue

 

 

“MaIAaL ‘asuodsal S,O09WON SID Ueid 0] pue awes

 

“'SSROSIP 0} Edt] ‘S Ulm GouaI8}U09 audYydaja}

 

‘sBulpeajd uo juaw6pnl 30} SOHO UO aINpeYyDS

 

“Buyetiq jo Ae}s Jo} uoNOW s deo ABIADY

_ 00°0%s$

00°

 

“OO'F

JuBIg LEOUNG ‘IN

Looz/sie

 

 

“pNOD UWA Buy

 

“404 jeng ezijeuy ‘sBuipeed ayy uo quewbpnil

 

30} UOROW Jo Woddns Ul jeg AjdaL jo

 

 

yeip payepdn s.edrq ‘5 uo justuu0o pue MalAay

00°0zS$

00°74

00 0eS$

 

 

‘sBuipeajd uo yuawbpni 10) uojou

00"t

Jueis UeOUNG WW

L00Z/ 42/2

 

 

 

 

“ODBWON SWO jo poddns ui yauq Ajdau so pespas

 

, __quaoal SOW $,ed)7 "9 UO WeLUWOD pue MaIAaY

00°092$

os'0

00°09z$

os'0

JUBIS) UBOUNG W .

200Z/0¢/2

 

 

 

“sbuipeald

 

dy} UO juSWUBpn! J03 UOI}OWW jo Yoddns ut you

 

 

 

 

~kidei so yesp adi] 9 uo jueUs0S pue MeIney

00°0zS$

00°02S$

oot

quess ueoung ‘yy

200Z/91/e

 

 

 

 

 

wes a WEIN GW }eule pu

 

uo juawbpn! 30} uoyoW COeWON SIND 0} UOnIsoddo

 

 

ul jouq Buuamsue deryy 0} asuodsas 0} sajejal

 

- aBaaud - papepe,} yoeasa: anuquog

No 20/¢
Va one

ac’z
va &

Og 792$

 

 

oo;
we
“

 

 

 

SBDJAIGS JO UONdDSEQ

 

UORNId O04 U!
yufnos junowy

 

UONOd 384 Ul
yuBnos sunoy

 

wad
0} psig junoUY

 

qua 03
paliig sinoy

 

Kkawony

 

 

 

 
 

SZ'9S1'99$

SO POL

GZ Lvs ELS

Sect

STWLOL

 

 

 

“SJU@LULUOD SHY 10 adj ‘S 0}

 

" $891Al6g Jo LoNdussag

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uonned 824 U!
yyBnos Junowy

 

UOHHed ae4 Uj
wyBnog sunoy

 

quaID
0} pajjig junowy

 

UBIID 0}
patitg sano}

 

Aawony

 

aeq

 

 
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EXHIBIT B
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Costs Incurred by Pepper Hamilton LLP
on behalf of CMS Nomeco

Description Amount
Filing fees $250.00
Lexis / Nexis charges for access to docket $522.00
Westlaw research charges for J. Carignan searches $4,475.14
Reimbursement sought for 75% of J. Carignan WestLaw charges $3,356.36
Pro hac vice admission fees $75.00
Reporting services (hearing transcripts) _ 959g 9
TOTAL COSTS FOR WHICH REIMBURSEMENT 1S SOUGHT _ __ $4,427.58

 

 

 
